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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

JENNIFER BAHCIVAN,                                  §
                                                    §
                Plaintiff,                          §
                                                    §
        v.                                          §         No. 6:19-cv-00026
                                                    §
CAPITAL ONE BANK (USA), N.A.,                       §
                                                    §
                Defendant.                          §

                                         COMPLAINT

        NOW COMES Plaintiff, JENNIFER BAHCIVAN (“Plaintiff”), by her attorneys, and

hereby alleges the following against CAPITAL ONE BANK (USA), N.A. (“Defendant”):

                                       Nature of the Action

        1.   Plaintiff’s Complaint arises under the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227 et seq, the Texas Financial Code, Tex. Fin. Code § 392.001 et seq.,

and invasion of privacy.

                                     Jurisdiction and Venue

        2.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, 28 U.S.C. §

1367, and 47 U.S.C. § 227.

        3.   28 U.S.C. § 1367 grants supplemental jurisdiction over the claims arising under

The Texas Financial Code and invasion of privacy.

        4.   Venue is proper pursuant to 28 U.S.C. 1391(b)(1) as the conduct giving rise to this

action occurred in this district, as Plaintiff resides in this district and Defendant transacts

business in this district.
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                                               Parties

       5.    Plaintiff is a natural person residing in Tyler, Texas located in Smith County.

       6.    Plaintiff is a “consumer” as defined by Tex. Fin. Code § 392.001(1).

       7.    Defendant is a business entity with headquarters located in McLean, Virginia.

       8.    Defendant is a “debt collector” as defined by Tex. Fin. Code § 392.001(6).

       9.    Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                        Factual Allegations

       10. Defendant has been placing calls to telephone number (903) 707-43XX.

       11. Telephone number (903) 707-43XX is been assigned a cellular telephone.

       12. Plaintiff’s cellular telephone number is (903) 707-43XX.

       13. These telephone calls are not for emergency purposes.

       14. These telephone calls were in connection with an alleged credit card debt.

       15. The alleged debt arises from transactions which were used primarily for personal,

family, and/or household purposes.

       16. Some of Defendant’s calls used automated recordings.

       17. Upon information and good faith belief, and in light of the frequency, number,

nature, and character of these calls, and based on Defendant’s representations to Plaintiff,

Defendant used an automatic telephone dialing system or artificial or prerecorded voice to call

Plaintiff’s cell phone.

       18. On or about August 13, 2018, Plaintiff spoke with one of Defendant’s employees.




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       19. Defendant stated that Plaintiff had two MasterCard accounts and Plaintiff instructed

Defendant that she was calling about both accounts, that she had been getting automated calls,

and for Defendant to stop calling her cell phone about both accounts.

       20. Plaintiff confirmed for Defendant that (903) 707-43XX is her cell phone number.

       21. Defendant informed Plaintiff that it noted the records.

       22. Defendant continued to call Plaintiff’s cell phone after August 13, 2018 regarding

the two accounts.

       23. After August 14, 2018, Plaintiff estimates that Defendant called her cell phone at

least 138 times.

       24. These calls were placed twice and three times per day, often around the same time of

day.

       25. These calls were placed using an automatic telephone dialing system and/or an

automated voice.

       26. Defendant did not have Plaintiff’s express consent to place these calls.

       27. Defendant knew that it did not have Plaintiff’s express consent to place these calls.

       28. Defendant voluntarily, knowingly, and/or willfully placed these calls.

       29.     Plaintiff was severely interrupted, unduly inconvenienced, and mercilessly

harassed by Defendant’s unauthorized phone calls.

       30. As a result of Defendant’s unauthorized phone calls, Plaintiff suffered emotional

distress including anxiety, stress, frustration, shame, lack of sleep, lack of concentration, and fear

of answering her telephone.

                                           COUNT I
                               Telephone Consumer Protections Act

       31. Plaintiff repeats, reiterates and incorporates by reference into this cause of action the



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Factual Allegations set forth above with the same force and effect as if the same were set forth

at length herein.

       32. Defendant’s actions alleged supra constitute numerous violations of the TCPA,

entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation

pursuant to 47 U.S.C. § 227(b)(3)(B).

       33. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory damages for

each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

Defendant willfully used an automatic telephone dialing system to call Plaintiff’s cell phone.

                                             COUNT II
                                        Texas Financial Code

       34.     Plaintiff repeats, reiterates and incorporates by reference into this cause of action

the Factual Allegations set forth above with the same force and effect as if the same were set

forth at length herein.

       35. The Texas Financial Code states:

             In debt collection, a debt collector may not oppress, harass, or abuse a
             person by:
                (4) causing a telephone to ring repeatedly or continuously, or
             making repeated or continuous telephone calls, with the intent to
             harass a person at the called number.

Tex. Fin. Code § 392.302

             The Texas Financial Code also states:

             A person may sue for:
               (1) injunctive relief to prevent or restrain a violation of this chapter; and
               (2) actual damages sustained as a result of a violation of this chapter.

Tex. Fin. Code § 392.403

       36. Defendant attempted to collect a debt from Plaintiff by causing Plaintiff’s telephone



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to ring repeatedly, and made repetitive and continuous phone calls to Plaintiff.

        37. It was unfair for Defendant to relentlessly call Plaintiff using an ATDS after

Plaintiff instructed Defendant to stop calling her.

        38. Plaintiff has suffered actual damages as a result of Defendant’s unlawful conduct.

                                            COUNT III
                          Invasion of Privacy (Intrusion Upon Seclusion)

        39.     Plaintiff repeats, reiterates and incorporates by reference into this cause of action

the Factual Allegations set forth above with the same force and effect as if the same were set

forth at length herein.

        40.     Plaintiff had a reasonable expectation of privacy in his solitude, seclusion, private

concerns and affairs.

        41.     Defendant interfered, physically or otherwise, with the solitude, seclusion and

private concerns of Plaintiff by repeatedly and unlawfully calling Plaintiff cell phone without

authorization after she instructed it to stop.

        42.     Defendant’s conduct resulted in multiple intrusions and invasions of privacy,

which would be highly offensive or objectionable to a reasonable person in that position.

        43.     Plaintiff has suffered actual damages as a direct and proximate result of

Defendant’s intrusion.

                                          Prayer for Relief

        WHEREFORE, Plaintiff prays that judgment be entered against the Defendant for the

following:

        44. Statutory damages of $500.00 for each and every violation of the TCPA pursuant to

                47 U.S.C. § (b)(3)(B);

        45. Statutory damages of $1500.00 for each and every knowing and/or willful violation



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           of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

       46. Actual and punitive damages, in an amount greater than $50,000 to be determined at

           trial, for the underlying violations of the Texas Financial Code and/or invasion of

           privacy;

       47. All court costs and attorney fees,

       48. Any other relief that Plaintiff is entitled and/or this Honorable Court deems

           appropriate.

                                                    Respectfully submitted,

Dated: January 25, 2019                             /s/ Adam T. Hill
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